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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


    In re:                                          Chapter 11

    Bostwick Laboratories, Inc., et al.,1           Case No. 17-10570 (BLS)

                    Debtors.                        Jointly Administered

                                                    Objections Due: Sept. 28, 2018 @ 4:00 p.m.

                                                    Hearing Date: October 25, 2018 @ 11:00 a.m.

                                                    Re: Docket No. 676

       LIMITED OBJECTION OF HIGHWOODS REALTY LIMITED PARTNERSHIP
        TO THE PLAN ADMINISTRATOR’S MOTION FOR ENTRY OF AN ORDER
                 EXTENDING THE CLAIMS OBJECTION DEADLINE

             Highwoods Realty Limited Partnership, a North Carolina limited partnership

(“Highwoods”), by and through undersigned counsel, hereby objects to the Plan Administrator’s

Motion For Entry Of An Order Extending the Claims Objection Deadline [Docket No. 676] (the

“Motion”) inasmuch as the Motion pertains to Highwoods’ claim filed in this case, and respectfully

states as follows:

             1.    In September 2004, Highwoods entered into an agreement (as amended to date, the

“Lease”) to lease real property located at 4355 Innslake Drive, Glen Allen, Virginia 23060 (the

“Premises”) to Debtor Bostwick Laboratories, Inc. (the “Debtor”). In December 2015, the Debtor

subleased a portion of the Premises to a third party, Salveo Diagnostics, LLC. (“Salveo”) pursuant

to a certain sublease (the “Sublease”). Highwoods’ Lease was eventually rejected by the Debtors,

as reflected in an Order of this Court [Docket No. 448] dated August 1, 2017 (the “Order”).


                                                            
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  The Debtors were the following entities (last four digits of EIN in parentheses): (i) Bostwick Laboratories,
Inc., a Delaware corporation (3169); and (ii) Bostwick Laboratories Holdings, Inc., a Delaware corporation
(1042). The mailing address for the Debtors is 100 Charles Lindbergh Blvd., Uniondale, NY 11553.


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Promptly after the Order was entered, and pursuant thereto, Highwoods filed an Amended Proof

of Claim which is attached as Exhibit A to this Limited Objection.

        2.        As reflected in Exhibit A, Highwoods has a total claim of over $850,000. Happily

for Highwoods, it is also holding a security deposit of $378,441.01 on account of the Lease.

However, those funds are tied up at present, because, out of an abundance of caution, Highwoods

does not want to take the funds and possibly run afoul of the injunction provisions found in the

Plan confirmed by this Court. Over a year ago, Highwoods attempted to get the Debtors to focus

on its claim, and in particular on the security deposit, to no avail. Since then the Plan Administrator

has received one six-month extension of time to review claims and is now seeking a second. More

such requests will undoubtedly come before this Court in the future. Simply stated, this situation

is imposing an undue harm on Highwoods.

        3.        Highwoods does not contend that the Plan Administrator is being completely

unreasonable in requesting a further extension. Nevertheless, given the fact that over $375,000 is

being tied up in a security deposit, some modification to the relief requested is appropriate for

Highwoods’ claim. Therefore, Highwoods respectfully requests that the Plan Administrator be

required to either object to Highwoods’ claim by November 1, 2018 or notify Highwoods’

undersigned counsel if that there is no objection to the claim. In addition, the Plan Administrator

should be required to notify Highwoods’ undersigned counsel, on or before November 1, 2018, if

he objects to Highwoods’ taking of all or any part of the security deposit. To the extent that the

funds held as a deposit are not being contested, then Highwoods should be allowed to draw down

on its security




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       4.      Accordingly, for the reasons stated above, Highwoods respectfully requests that the

relief sought in the Motion be modified as detailed above.



Dated: September 28, 2018
       Wilmington, DE                        CROSS & SIMON, LLC


                                              /s/ Joseph Grey
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